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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  UNITED STATES ex rel.                          )
  KAREN BLOOMFIELD,                              )
                                                 )
                 Relator/Plaintiff,              )
                                                 ) Civil Action No. 1:22-cv-00789-DJN-IDD
                 v.                              )
                                                 )
  ENGINEERED STRUCTURES, INC.,                   )
                                                 )
                 Defendant.


                                      [PROPOSED] ORDER

        THIS MATTER having come before the Court of its own accord, and the Court having

 reviewed and considered the parties Joint Stipulation Regarding Venue, in which the parties have

 stipulated to venue in this district, thereby making their chosen forum one “to which all parties

 have consented,” 28 U.S.C. § 1404(a);


        IT IS on this _____ day of ___________________, 2024,

 ORDERED that the venue in the United States District Court for the Eastern District of Virginia

        is proper.




                                                      ____________________________________
                                                      David J. Novak
                                                      United States District Judge



 Copies to All Counsel of Record.
